         Case 2:23-cv-08013-MHH                Document 1           Filed 04/24/23          Page 1 of 10                          FILED
                                                                                                                         2023 Apr-24 PM 02:23
                                                                                                                         U.S. DISTRICT COURT
                                                                                                                             N.D. OF ALABAMA




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ALABA~Z"'] ,._., .,, ,
                                          SOUTHERN DIVISION                                      UL   /,( ,I   ,;   c;




     UNITED STATES OF AMERICA                                   )     CiviINo.      ;{:?J~-!O(o-illl-H
                                                                )
                           v.                                   )     2:21-cr-389-MHH-JHE
                                                                )
     JAMES LOUIS GAINES, JR.                                    )




                        MEMORANDUM BRIEF IN SUPPORT OF
                        MOTION TO VACATE, SET ASIDE, OR CORRECT
                        SENTENCE, PURSUANT TO 28 U.S.C. §2255


     COMES NOW, James Louis Gaines, Jr., the Petitioner, pro-se, and respectfully files this Memorandum

Brief in support of his Motion to Vacate, Set Aside, or Correct Sentence, Pursuant to 28 U.S.C. Section

22552 imposed by this Honorable Court on June 10, 2022 proceedings. Petitioner Gaines is presently

incarcerated at the Federal Correction Institution, FCI Greenville, In Greenville, Illinois.

     IN SUPPORT THE PETITIONER STATES AS FOLLOWS:

                                    STATEMENT OF THE FACTS

     The Petitioner plead guilty to Count One of the indictment for the crime of being a convicted felon

in possession of a firearm, in violation of Title 18, United States Code, Section 922(g)(1 ), as charged

in Count One.
                                       TERMS OF THE AGREEMENT
                I. MAXIMUM PUNISHMENT

                      The defendant understands 1hat 1he maximmn statutory punishment that may

                be imposed for 1he crime of being a convicted felon in possession of a firearm, in

                violation of Title 18, United States Code, Section 922(gX 1), as charged in COUNT

                ONE, is:                                 ( 1)
      Case 2:23-cv-08013-MHH                   Document 1           Filed 04/24/23             Page 2 of 10

                                a.     Jmprisorunent for not more then 10 years;

                                b.     A fine of not more then $250,000; or,
                               c.      Botb (a and b);

                               d.      Supervised release term of not more then 3 years; end

                               e.      Special Assessment Fee of$100.

                        Furthermore, Title 18, United States Code, Section 924( e) states that:

                 In the case of a person who violates section 922(g) ofthis title end has three previous

                 convictions by any court referred to in section 922(gXI) of this title for a violent

                 felony or a serious drug offense, or both, committed on occasions different from one

                 another, such person shall be fined under this title and imprisoned not less then

                 fifteen (15) years ... "


    On June 10, 2022 this Honorable Court Sentenced the Petitioner to the custody of the United States

Bureau of Prisons to be imprisoned for a term of 135 months, to be served concurrently with an yet-to-be

imposed State Court sentences. And upon release from imprisonment, the Defendant shall be on

supervised release for term of 36-months.

     LEGAL STANDARDS
     A. Standard of Review for § 2255
     Because collateral review is not a substitute for direct{2021 U.S. Dist. LEXIS 4} appeal, the grounds
     for collateral attack on a final judgment, pursuant to§ 2255, are extremely limited. A prisoner is
     entitled to relief under§ 2255 if the court imposed a sentence that (1)violated the Constitution or
     laws of the United States, (2) exceeded its jurisdiction, (3) exceeded the maximum authorized by
     law, or (4) is otherwise subject to collateral attack. See§ 2255(a); McKay v. United States, 657 F.3d
     1190, 1194 n.8 (11th Cir. 2011 ). Relief under § 2255 "is reserved for transgressions of constitutional
     rights and for that narrow compass of other injury that could not have been raised in direct appeal
     and would, if condoned, result in a complete miscarriage of justice." Lynn v. United States, 365 F.3d
     1225, 1232 (11th Cir. 2004) (citations omitted); see also, United States v. Frady, 456 U.S. 152, 165,
     102 S. Ct. 1584, 71 L. Ed. 2d 816 (1982) (collecting cases)). If a court finds a claim under§ 2255
     valid. the court shall vacate and set aside the judgment and discharge the prisoner, grant a new trial,
     or correct the sentence. See 28 U.S.C. § 2255. The burden of proof is on Movant, not the
     Government, to establish that vacatur of the conviction or sentence is required. Beeman v. United
     States, 871 F.3d 1215, 1221-22 (11th Cir. 2017), reh'g en bane denied, Beeman v. United States,
     899 F.3d 1218 (11th Cir. 2018), cert. denied, Beeman v. United States, 139 S. Ct. 1168, 203 L. Ed.
     2d 211 (2019).
     B. Ineffective Assistance of Counsel Standard
     A criminal defendant is entitled to the effective assistance of counsel before deciding whether to
     plead guilty. Lee v. United States, 137 S. Ct. 1958, 1964, 198 L. Ed. 2d 476 (2017). Where a movant
     challenges his counsel's effectiveness,{2021 U.S. Dist. LEXIS 5} he must demonstrate that: (1) his
     counsel's performance was deficient; and (2) the deficient performance prejudiced his defense.
     Strickland v. Washington, 466 U.S. 668, 687, 104 S. Ct. 2052, 80 L. Ed. 2d 674 (1984). If the movant
     cannot meet one of Strick/ands prongs, the court need not address the other. Id. at 697.

                                                         (2)
      Case 2:23-cv-08013-MHH               Document 1         Filed 04/24/23        Page 3 of 10




     To show deficient performance, the movant must demonstrate that "no competent counsel would
     have taken the action that his counsel did take." Gordon v. United States, 518 F.3d 1291, 1301 (11th
     Cir. 2008) (citation omitted). To show prejudice, the movanl must establish that, but for his counsel's
     deficient performance, the outcome of the proceeding would have been different. Strickland, 466
     U.S. at 694. In the sentencing context, this requires a showing that the sentence would have been
     less severe. Glover v. United States, 531 U.S. 198,203, 121 S. Ct. 696, 148 L. Ed. 2d 604 (2001).
     Conclusory allegations of ineffective assistance are insufficient under Strickland. See Boyd v.
     Comm's, Ala. Dep't of Corr., 697 F.3d 1320, 1333-34 (11th Cir. 2012).



                                              ISSUE ONE


                    THE PETITIONERS SENTENCE IS UNCONSTITUTIONAL BECAUSE
                     PETITIONER DID NOT RECEIVE EFFECTIVE ASSISTANCE OF
                     COUNSEL AS GUARANTEED BY THE SIXTH AMENDMENT OF
                             OF THE UNITED STATES CONSTITUTION


      The Petitioners Counsel Steven Randall Horton, ESQ was ineffective for failing to review the
      Presentence Report and the Sentencing Memorandum with the Petitioner, and detail any possible
      objections to the Presentence Report. Pursuant to Rule 32 Sentencing and Judgment.

     Counsel Horton failed to review the Presentence Sentence Report with the Petitioner and also failed

  to address and object to the Court failure in violation under Rule 32(c)(3)(A), in which the District Court

  must verify that the Defendant and Defendants counsel have read and discussed the presentence report.



     THE VIOLATION OF RULE 32
     Rule 32(c)(3) 2 provides in relevant part:
          Before imposing sentence, the court must:
          {80 F.3d 1388} (A) verify that the defendant and defendant's counsel have read and discussed
          the presentence report ... [and] give the defendant{1996 U.S. App. LEXIS 10} and the
          defendant's counsel a reasonable opportunity to comment on that information. "The plain
          language of (the rule] requires that the court determine whether or not the defendant and his
          counsel have had the opportunity to read and discuss the report.

     The record is clear that Counsel Horton never reviewed the Presentence Report with the Petitioner and

in fact, the record is also clear that the Presentence Report was filed with this Honorable Court on

June 9, 2022 (DKT. 32) the day before sentencing. (Dk\. 34 June 10, 2022 - Sentencing) Furthermore Counsel

Horton also failed to discuss the Presentence report and possible Sentencing Memorandum prior to Sentencing

(It should be noted, that NO Sentencing Memorandum was filed by Counsel Horton, pursuant to 32(f)(1) any

sentencing objections should have been filed within 14 days after receiving the Presentence Report, thus


                                                   (3)
         Case 2:23-cv-08013-MHH              Document 1         Filed 04/24/23       Page 4 of 10




 violating his Sixth Amendment right and Fourteen Righi to Due Process ..

      Counsel Horton failed to follow Court Rules 32(e)(2)" MINIMUM REQUIRED NOTICE", as follows: The

  the Probation Officer must give the PSR to the Defendant, the Defendant's Attorney, and an Attorney for

   the Government at " LEAST 35-DAVS " before Sentencing. (It should be noted that the Petitioner did

  not waive this minimum period)




                                             ISSUE TWO

                      THE PETITIONERS SENTENCE IS UNCONSTITUTIONAL BECAUSE
                       PETITIONER DID NOT RECEIVE EFFECTIVE ASSISTANCE OF
                       COUNSEL AS GUARANTEED BY THE SIXTH AMENDMENT OF
                               OF THE UNITED STATES CONSTITUTION


        The Petitioners Counsel Steven Randall Horton, ESQ was ineffective for failing to address at
         Sentencing, "the substantial assistance "the Petitioner provided.


         The Petitioner states a guilty plea must be free from coercion, see UNITED STATES -v- FREIXAS

   332 F. 3d. 1314, 1316 (11th. Cir. 2003)(quoting UITED STATES -v- LEJARDE-RADA, 319 F. 3d. 1288

   1289 (11th. Cir. 2003).



         Guilty Plea Principles
         After a knowing and voluntary guilty plea has been entered, a criminal defendant may not raise
         claims relating to the alleged deprivation of constitutional rights occurring prior to the entry of the
         guilty plea, but may only: (1) raise jurisdictional issues, United States v. Patti, 337 F.3d 1317, 1320
         (11th Cir. 2003); (2) attack the voluntary and knowing character of the guilty plea, Tollett v.
         Henderson, 411 U.S. 258,267, 93 S. Ct. 1602, 36 L. Ed. 2d 235 (1973); Wilson v. United States, 962
         F.2d 996, 997 (11th Cir. 1992) (per curiam); or, (3) challenge the constitutional effectiveness of the
         assistance he received from his attorney in deciding to plead guilty, United States v. Fairchild, 803
         F.2d 1121, 1123 (11th Cir. 1986) (percuriam). Thus, a voluntary and intelligent plea of guilty, made
         by an accused person, must stand unless induced by misrepresentations made to the accused
         person by the court, prosecutor, or his own counsel. See Brady v. United States, 397 U.S. 742, 748,
         90 S. Cl. 1463, 25 L. Ed. 2d 747 (1970).



     Counsel Horton failed to address at sentencing the proffer sessions with the government the Petitioner

provided. Counsel was aware of these sessions and that such cooperation qualifies as "substantial assistance "

to warrant a" downward departure" pursuant to to Title 18 U.S.C. Section 3553(e) and or Section 5K1 .1

of the Sentencing Guidelines.
                                                       (4)
          Case 2:23-cv-08013-MHH                   Document 1            Filed 04/24/23          Page 5 of 10




     Furthermore, Counsel Horton" induced "the Petitioner to "plead guilty" premised on such cooperation

with the cooperation. The Petitioner also advised Counsel Horton why nothing was mentioned and indicated

in the plea agreement regarding the substantial assistance he provided. STRICKLAND -v- WASHINGTON, 466

U.S. 668 (1984)(also see, LAFLER -v- COOPER 566 U.S. 156, 132 S. Ct. 1376, 1384, 182 L. Ed. 2d. 398

(2012)(quoting McMANN -v- RICHARDSON, 397 U.S. 759 (1970)


                     RECOMMENDED SENTENCE
                       Subject to the limitations in paragraph VIlI regarding subsequent conduct and

                 pursuant to Rule ll(c)(l)(B), Fed.R.Crim.P., the government will recommend the

                 following disposition:

                             (a)     That the defendant be awarded an appropriate reduction in

                                     offense level for acceptance of responsibility;

                             (b)     That the defendant be remanded to the custody of the Bureau of

                                     Prisons and incarcerated for a term consistent with the low end

                                     of the United States Sentencing Guideline, as that is determined

                                     by the court on the date that the sentence is pronounced;

                             . (c)   That following the said term of imprisorunent, the defendant be

                                     placed on supervised release for a period to be determined by the

                                     court, subject to the standard conditions of supervised release as

                                     set forth in U.S.S.G § 5D1.3;

                              (d)    That the defendant be required to pay a fine in accordance with

                                     the sentencing guidelines, said amount due and owing as of the

                                     date sentence is pronounced, with any outstanding balance to be

                                     paid in full by the expiration of the term of supervised release;

                                     and

                              (e)    That the defendant pay a special assessment fee of $100, said

                                     amount due and owing as of the date sentence is pronounced.



                                                            (5)
        Case 2:23-cv-08013-MHH              Document 1         Filed 04/24/23        Page 6 of 10




     The Petitioner further asserts that the information provided qualified for a 5K1 .1 or Rule 35(b), and

 failed to" advocate" and present such cooperation in a sentencing memorandum. See, UNITED STATES

-v-OROZCO, 160 F. 3d. 1309, 1315 (11th. Cir. 1998)

      The record is clear that Counsel Horton advised the Petitioner that he would NOT receive more than

10-years if he cooperated and plead guilty. This Honorable Court fully understands how plea's are

 based upon plea agreements. This Honorable Court fully understands that in most cases Counsels actions

 must be addressed to find the truth regarding the factual basis of a plea of guilty, when a Defendant

raises such claims. In the" Interest of Justice "this Honorable Court has a duty to find the truth regarding

 that indeed the Petitioner proffered and provided additional information to assist the government, and receive

 a "downward departure ". Counsel Horton failed to provide" effective assistance of counsel "for the

Petitioner during his due process and adjudication.

    Counsel Horton failed to present any 3553 factors at sentencing, and failed to argue to this Court that

his proffered sessions had potential benefits beyond the hope of gaining a substantial assistance Motion under

U.S.S.G. Section 5K1 .1. The Petitions cooperation with law enforcement could reflect positively on his

"history and characteristics" for sentencing purposes, 18 U.S.C. Section 3553(a)(1) and persuade this Court

of the Petitioner's remorse and desire to make amends to the extent making amends was possible.

    Thus, even without the potential for a 5K1 .1 motion, a " competent attorney could have reasonably

argued that fact of such cooperation and proffer session. See, CHANDLER -v- UNITED STATES, 218 F. 3d.

1305, 1315 (11th. Cir. 2000)(eon bane).


                                               ISSUE THREE

                         THE PETITIONERS SENTENCE IS UNCONSTITUTIONAL BECAUSE
                          PETITIONER DI DNOT RECEIVE EFFECTIVE ASSISTANCE OF
                          COUNSEL AS GUARANTEED BY THE SIXTH AMENDMENT OF
                                 OF THE UNITED STATES CONSTITUTION


      The Petitioners Counsel Steven Randall Horton, ESQ was ineffective for failing to request and
      introduce" dash cam "video from Alabama State Trooper William Elston, which allegedly
      observed " items throw out of the window " of the Petitioner's vehicle traveling over 85 mile per
      hour on 1-59. And failed to requested to have forensic prints on the alleged weapon that was
      throw out the vehicles window.

       Counsel Horton failed to request " DASH-CAM " Video and request to have forensic prints on the

 alleged weapon that was throw out of the vehicle in questioned.

                                                      (6)
          Case 2:23-cv-08013-MHH               Document 1         Filed 04/24/23         Page 7 of 10



        Counsel Horton fully understands to defend his client he must explore all avenues of the Petitioner's

possible defenses. Counsel Horton failed to request the dash-cam evidence and forensic prints on the

weapon and lacking this evidence, good or bad, does not clearly explain the actions of the Petitioner,

 rather than merely conclusory allegations unsupported. See, RIVERS -v- UNITED STATES, 777 F. 3d. 1306,

 1316 (11th. Cit. 2015) also see, BEEMAN -v- UNITED STATES 871 F. 3d. 1215 (11th. Cir. 2017)

     Counsel Horton failure to investigate possible mitigating evidence regarding the the alleged weapon

 and the totality of the relevant factors of 922(g) which the Petitioner was facing regarding this violation

 of Section 922(g), knowing he was a convicted felony.

     Furthermore, the dash-cam would of discovered that Trooper Elston did not recover the alleged weapon

Trooper Jamel Bouyer responding to the scene actually recovered the weapon. Thus, Counsel Horton's failure

to secure the dash-cam video would have shown the actual events, and determine if a plea agreement

was warranted. Counsel Horton was ineffective for failing to secure any possible evidence to defend the

Petitioner. STRICKLAND -v- WASHINGTON, 466 U.S. 668 (1984)



         CERTIFICATE OF APPEALABILITY
         Unless a judge issues a certificate of appeal ability ("COA"), an appeal may not be taken to the Court
         of Appeals from the final order in a proceeding under§ 2255. 28 U.S.C. § 2253(c)(1); Harbison v.
         Bell, 556 U.S. 180, 183, 129 S. Ct. 1481, 173 L. Ed. 2d 347 (2009). This Court should issue a COA
         only if the petitioner makes "a substantial showing{2021 U.S. Dist. LEXIS 10} of the denial of a
         constitutional right." See 28 U.S.C. § 2253(c)(2).
         To merit a COA, petitioners must show that reasonable jurists would find the district court's
         assessment of the constitutional claims debatable or wrong. See Slack v. McDaniel, 529 U.S. 473,
         484, 120 S. Ct. 1595, 146 L. Ed. 2d 542 (2000).


    WHEREFORE the Petiitoner respectfully asks this Honorable Court to GRANT his Section 2255 Motion and

or hold an evidenliary hearing to determine the disputed facts.

    respectfully submitted on this   \   8 day of April, 2023

      . James Louis Gaines # 761
    FCI Greenville
    P.O. Box 5000
    Greenville, IL 62246
    PRO SE REPRESENTATION


                                                       (7)
Case 2:23-cv-08013-MHH           Document 1          Filed 04/24/23    Page 8 of 10




                          CERTIFICATE OF SERVICE

         I HEREBY STATE that I James L. Gaines placed a true and correct copy of
  this instrent in FCI Greenville's Legal Mail system with First Class postage on
  this    \   day of April, 2023, and served this Honorable Court and the United
  States Assistant Attorney.
                        '




                                                 f




                                         (8)
Case 2:23-cv-08013-MHH            Document 1        Filed 04/24/23       Page 9 of 10

05/09/2022    2B. SEALED MOTION (KWC,) (81,tered: 05/09/2022)
 05/16/2022   29    TEXT ORDER as to James Louis Gaiues; Jr: The Sentencing Hearing currently set
                    for 5/18/2022 is RESET for Wednesday, June 8, 2022 at 1:30 PM in Courtroom 7B
                    of the Hugo L Black US Courthouse, Birmingham, AL before Judge Madeline Hughes
                    Haikala. Signed by Judge Madeline Hughes Haikala on 5/16/2022. (MEB2) (Entered:
                    05/16/2022)
06/07/2022    Jll NOTICE OF ATTORNEY APPEARANCE Austin Shutt appearing for USA. (Shutt,
                    Austin) (Entered: 06/07/2022)
06/07/2022    .ll MOTION for Order of Forfeiture by USA as to James Louis Gaines, Jr. (Attachments:
                  # l Text of Proposed Order)(Shutt, Austin) Modified on 6n/2022 (KWC, ). (Entered:
                    06/07/2022)
06/08/2022          Minute Entry for proceedings held before Judge Madeline Hughes Haikala: Sentencing
                    held on 6/8/2022 for James Louis Gaines, Jr (1). SENTENCE: CBP 135 months, to be
                    served concurrently with any yet-to-be-imposed state court sentences. SRT 36
                    months, with special conditions as indicated on toe record. No fine due to inability to
                    pay; special assessment fee $100.00 due immediately. Defendant remanded to USM
                    custody. (Court Reporter Leah Turner. TRANSCRJPT OF PROCEEDINGS SEALED)
                    (KLL) (Entered: 06108/2022)
06/08/2022    33    ORAL ORDER granting 2B. Sealed Motion as to James Louis Gaiues Jr (1). Signed by
                    Judge Madeline Hughes Haikala on 6/812022. (KLL) (Entered: 06110/2022)
06/09/2022    .J2   PRESENTENCE INVESTIGATION REPORT (Sealed) as to dft James Louis Gaiues,
                    Jr (KBB) (Entered: 06/09/2022)
06110/2022    ~     JUDGMENT as to dft James Louis Gaines, Jr., Count 1, CBP 135 mos; SRT 36 mos
                    w/Spec Cond; No Fine; Forfeiture Ordered; AF $100.00; Oft Remanded to Custody of
                    USM. Signed by Judge Madeline Hughes Haikala on 6/10/2022. (KBB) (Entered:
                    06/10/2022)
06/10/2022    .ll Sealed Document- SOR as to dft,James Louis Gaines, Jr. (KBB) (Entered:
                    06/10/2022)    .                 .    .

06129/2022    ~     ORDER OF FORFEITURE as to dft James Louis Gaines, Jr. ; The dft shall FORFEIT
                    property to the USA as set out. Signed by Judge Madeline Hughes Haikala on
                    6/29/2022. (cm USA and ATP) (KBB) (Entered: 06/29/2022)
09/14/2022    ll    Judgment Returned Executed by delivering dft James Louis Gaiues, Jr to FCI ORE at
                    Greenville, IL, on 8/2212022. (KW~, ) (Entered: 09/1412022)
Case 2:23-cv-08013-MHH                Document 1    Filed 04/24/23   Page 10 of 10




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